   Case: 1:19-cv-02519 Document #: 66 Filed: 08/30/19 Page 1 of 4 PageID #:3876




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

____________________________________
                                        )
General Tools & Instruments, LLC        )
                                        )             Case No. 1:19-cv-02519
              v.                        )
                                        )             Judge: Honorable Robert W. Gettleman
Does 1-2092, As Identified in Exhibit 2 )
                                        )             Magistrate: Honorable Sunil R. Harjani
                                        )
____________________________________)

    AGREED MOTION FOR STIPULATED DISMISSAL WITHOUT PREJUDICE

       Plaintiff, General Tools & Instruments, LLC and Defendants listed in Schedule A to this

Motion (collectively “the parties”), hereby move for the entry of a stipulated dismissal of this

case without prejudice. In support of this Motion, the parties state as follows:

    1. The parties have entered into a Settlement Agreement which provides for the

        resolution of this Action without further litigation.

    2. Contingent on performance of this Settlement Agreement is the cooperation of

        certain third-party asset holders, namely online merchant platforms who have

        responded to the prior injunctive relief by restraining assets and, now, who have

        to apportion those restrained assets according to the settlement terms as agreed by

        the Parties.

    3. However, these third parties are not willing to disburse assets without a dismissal

        order, therefore dismissal is warranted facilitate adherence to the Settlement

        Agreement terms.

WHEREFORE, the parties hereby request that the Court

        a. Enter an Order authorizing disbursal of the frozen assets held by third parties as
   Case: 1:19-cv-02519 Document #: 66 Filed: 08/30/19 Page 2 of 4 PageID #:3876




        agreed between the Parties;

        b. Retain jurisdiction to enforce settlement and grant leave to reinstate the claims

        against the Defendants if settlement fails; and

        c. Dismiss this action without prejudice, and without attorneys’ fees or costs

        assessed to any party subject to reinstatement.



Dated this 30th of August, 2019

                                                                           Respectfully submitted,

                                                                             By:      /s/ Rishi Nair

                                                                                        Rishi Nair
                                                                                ARDC # 6305871
                                                                                  Kevin J. Keener
                                                                                ARDC # 6296898
                                                                       Keener & Associates, P.C.
                                                                  161 N. Clark Street, Suite #1600
                                                                                Chicago, IL 60601
                                                                                   (312) 375-1573
                                                                      rishi.nair@keenerlegal.com
                                                                   kevin.keener@keenerlegal.com
     Case: 1:19-cv-02519 Document #: 66 Filed: 08/30/19 Page 3 of 4 PageID #:3876




                                    SCHEDULE A
                                    Defendant List

Doe #     Seller Name           Seller ID               Def. E-mail
12        holcreation           holcreation             qinqin@unitedindustrieshome.
                                                        com
68        Wiysond TECH. Store   1045871                 wen.ys@163.com
71        MRO SUPPLIER          1111818                 chinashugo@163.com
          Store
442       NV Lighting & Tools   4392057                 jinlinmy77@sina.com
          Store
450       House Improvement &   4416143                 shztengfeidianz@sina.com
          Tool Store
476       Warm & Stylish Life   4497097                 mygirloop@sina.com
          Store
478       Everything In Your    4502084                 szfykjko1@sina.com
          House Store
524       1491 Lucky Store      A1BC45WBHRWZF1          Markma.s@outlook.com
574       Amenvtool             A32NQQQNGRIO14          gpdeals@163.com
613       Mosa Baby             AVIJ0QDRDH880           nghiant.amz@gmail.com
657       annannlee             annannlee               sellerannlee@gmail.com
698       cc1266                cc1266                  o85879070dulupu8@163.com
708       cnc-mall              cnc-mall                guyang2017@hotmail.com
721       dbwsd139              dbwsd139                kaibltis60@163.com
766       euclouds              euclouds                eucloud@hotmail.com
792       function-e.mall       function-e.mall         zsclothing99@gmail.com
802       globelsupply          globelsupply            globelsupplyhut@outlook.com
967       pinpin_yan            pinpin_yan              xiupingyan@hotmail.com
1032      smartech2016          smartech2016            smarttech2016@yahoo.com
1047      su_hk09 / sun_hk09    su_hk09                 18926472489@163.com
1057      sxbfbesegin           sxbfbesegin             kevin0206@foxmail.com
1086      uforeverk             uforeverk               annleeus@gmail.com
1116      windstowal            windstowal              windsto@hotmail.com
1160      popularqueen          5355f5e2736046282f9c52 popularqueen189@163.com
                                9e
1201      vakind                545b19a51280fa5057cde9 lovinclover156@126.com
                                01
1234      武汉市上没电子商务             54f1b8346b8a7748569e3a songhuofeng@hotmail.com
                                8e
  Case: 1:19-cv-02519 Document #: 66 Filed: 08/30/19 Page 4 of 4 PageID #:3876




        有限公司
Doe #   Seller Name          Seller ID                Def. E-mail
1265    shinyfashion         5583cd456dcfb31880ac59 luoyingsong@hotmail.com
                             db
1295    浙江杭州顶方电子商            55fa7203141a6e429d3347 dingfangwish3@yeah.net
                             d9
        务有限公司
1308    深圳壹泽贸易有限公            560947723a698c594699c    orzchina05@163.com
                             e88
        司
1352    blackleio            568b908c943b007756cd2    leiobikini@outlook.com
                             698
1393    happygao             5709f37ffa6bee7a679b71   xevt1987@163.com
                             70
1394    excellentquality     570cf23a4d73230d464af6   prgx6400@126.com
                             c4
1425    familygift           574bd713f78ae05ffcc553   3442774959@qq.com
                             e0
1549    yanqiangshop         5845190581089101ba216    silhouette13@126.com
                             775
1552    fujingshe            5847baccc7c94f69764150   fujingshe1@126.com
                             01
1561    happybabycorn        584b777b6339b424291aa    happybabycorn@126.com
                             2a6
1588    likebuystore         5864e5e27382824d6b8f9    1050909823@qq.com
                             785
1602    overseaseller        5881da08a451335b1b34d    welcomeveryday@sina.com
                             f45
1634    yinuodewuhouyanggu   58aebc8aff7522086248bd   t221-onlyou@outlook.com
        ang                  62
1658    kity                 58c231aa95dc43507b129    ujiaowen90@outlook.com
                             284
1687    cityofshopping       58d0f330b9d9d6505c44b    cityofshopping@126.com
                             2b4
1692    wang51               58d4b9e639c21f57b7bcb9   wanggangt246@126.com
                             a7
1935    zhengmin2017         59f19eeb0ec30f1b0fd448   zhengmin2017@163.com
                             28
1990    yayaxue              5a66aa436ea4a727932971   meng5657@outlook.com
                             cc
2013    gaofeiyuanzouo       5aace7de2fbbdc48c4a6d6   zwd372129703@tom.com
                             48
2089    wy8541369            5b7672d0b609992f12276    kl5581@126.com
                             155
